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                                            UNITED STATES DISTRICT COURT
                                                                                  for the
                                                                        District of Columbia

                      RUBY FREEMAN, et al.,
                                Plaintiff
                             V.                                                                     Civil Action No. 21-cv-03354 (BAH)
                      RUDOLPH W.GIULIANI
                              Defendant



         CLERK'S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT


           I ce11ify that the attached judgment is a copy of a judgment entered by this court on (date) _ _1_2_/1_8_/2_0_2_3_ _
I also certify that, as appears from this com1's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending before
this court and that no appeal has been filed or, if one was filed, that it is no longer pending.

                                                                                                                          > I

Date:              08/05/2024
                                                                                                   ANGELA D. CAESAR, CLERK OF COURT



                                                                                                                 Signature of Clerk or Deputy Clerk
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 RUBY FREEMAN, et al.,

                        Plaintiffs,                Civil Action No. 21-3354 (BAH)

                       V.                          Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                       Defendant.



                                      FINAL JUDGMENT

       Upon consideration of the Joint Stipulation Regarding Entry of Final Judgment, ECF No.

138, agreed to jointly by the paities, the entry of default judgment on liability against defendant

Rudolph W. Giuliani on plaintiffs' well-pleaded claims for defamation, intentional infliction of

emotional distress, and civil conspiracy to commit those torts, as a sanction for defendant's

sanctionable "willful shirking of his discovery obligations in anticipation of and during this

litigation," Freeman v. Giuliani, No. 21-cv-3354 (BAH), 2023 WL 5600316, at *2 (D.D.C. Aug.

30, 2023), pursuant to FEDERAL RULES OF CIVIL PROCEDURE 37(e)(2)(C) and 37(b)(2)(A)(vi); see

also Default Judgment Order, ECF No. 93, and the jury verdict on the amount of damages owed

to plaintiffs by defendant, see ECF No. 135, it is hereby ORDERED, ADJUDGED, and

DECLARED as follows:

   I. Plaintiffs Ruby Freeman and Wandrea' Moss shall recover from the defendant

       Rudolph W. Giuliani damages in the amount of $145 ,969,000.00, plus post-

      judgment interest at the rate of 5.01 °/., per annum, along with costs.

   2. Plaintiffs Ruby Freeman and Wandrea' Moss shall recover from the defendant

       Rudolph W. Giuliani attorney's fees as follows:
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       a.   in the amount of S89, 172.50, pursuant to this Court's Order dated August

            30, 2023, ECF No. 93, plus post-judgment interest accruing from July 25,

            2023, at the rate of 5.33% per annum;

       b. in the amount of $43,684, pursuant to this Comt's Order dated August 30,

            2023, ECF No. 93, plus post-judgment interest accming from September

            20, 2023, at the rate of 5.42% per annum; and

       c. in the amount of$104,256.50, pursuant to the Court's September 22, 2023

            Minute Order, plus post-judgment interest accruing from October 6, 2023,

            at the rate of 5 .46% per annum.

3. It is hereby DECLARED pursuant to 28 U.S.C. § 2201(a), as between plaintiffs

   and defendant, as follows:

       a. It is hereby DECLARED (1) that the Actionable Statements set fmth in

            the Amended Complaint, ECF No. 22, are false; (2) that those statements

            are defamatory and defamat01y per se; (3) that those statements were of

            and concerning plaintiffs; (4) that defendant made those statements with

            actual malice; (5) that defendant published those statements to third paities

            without privilege; and ( 6) that those statements caused plaintiffs harm;

      b. It is further DECLARED (1) that defendant Giuliani engaged in extreme

            and outrageous conduct which (2) intentionally and maliciously (3) caused

            the plaintiffs to suffer severe emotional distress;

      c. It is further DECLARED (1) that defendant Giuliani entered into an

            agreement on or before December 3, 2020, with Donald J. Trump, Christina

            Bobb. Herring Networks, Jnc .. d/b/a OAN, RobeJt Herring, Charles



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             HeITing, Chanel Rion, and members of the Trump 2020 Presidential

             Campaign, including members of the Trump Legal team headed by

             Giuliani, who caused statements to be published about plaintiffs or

             participated in such publications, (2) to participate in defamation of

             and intentional infliction of emotional distress on plaintiffs, and (3) that

             plaintiffs were injured by unlawful ove1t acts performed by pa1ties to the

             agreement pursuant to, and in furtherance of, the common scheme.

          d. It is fmther DECLARED that defendant's conduct was intentional,

             malicious, wanton, and willful, such that plaintiffs are entitled to punitive

             damages.

SO ORDERED.

Date: December 18, 2023


                                                     BERYL A. HOWELL
                                                     United States District Judge



                                                                   ECf
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                                               I hereby attest and certify that this Is a printed copy of a
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                                               States District and Bankruptcy Courts for the District of
                                               Columbia.
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



  RUBY FREEMAN, et al.,

                            Plaintiffs,                    Civil Action No. 21-3354 (BAH)

                           V.                              Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                            Defendant.



                                    MEMORANDUM AND ORDER

         Following a jury trial on damages owed to plaintiffs Ruby Freeman and Wandrea' ArShaye

"Shaye" Moss that concluded on December 15, 2023, and this Court's entry of final judgment on

December 18, 2023, see Final Judgment, ECF No. 142, plaintiffs now seek an order of dissolution

of the 30-day automatic stay for enforcement of judgment pending resolution of any appeal, under

Federal Rule of Civil Procedure 62(a), and for permission to register their judgment immediately

in "any other district," pursuant to 28 U.S.C. § 1963. Pis.' Mot. to Dissolve Stay of Execution and

for Leave to Register Judgment in Any Other District ("Pis.' Mot."), ECF No. 139. 1 Defendant

Rudolph W. Giuliani "does not contest that the final judgment can be registered in any other

district," Def. 's Resp. Pis.' Mot. ("Def. 's Opp'n") at 1 n.1, ECF No. 143, and opposes only the

part of plaintiffs' motion seeking to "abnormally shorten[] or dissolve[]" the stay of execution for

thirty days provided by Rule 62(a), id. In circumstances such as those presented by the record in

this case, there is nothing "abnormal" about plaintiffs' request. To the contrary, as discussed in

more detail below, plaintiffs' request to dissolve the otherwise automatic 30-day stay of


        Plaintiffs· motion and accompanying attachments in support ofthcir motion arc docketed three times, at ECF
Nos. 139, 140, and 141, bm. to simplify citation. only plaintiffs' motion docketed at ECF No. 139 is ci1cd.
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enforcement of the judgment is both appropriate and wananted. Plaintiffs' motion is therefore

granted for the reasons explained in more detail below.

  I.    BACKGROUND

        On December 15, 2023, following the entry of default judgment against Giuliani on

liability for plaintiffs ' three claims of defamation, intentional infliction of emotional distress, and

civil conspiracy to commit those torts, see Default Judgment Decision, Freeman v. Giuliani, No.

21-cv-3354 (BAH), 2023 WL 5600316, at *26 (D.D.C. Aug. 30, 2023); Default Judgment Order,

ECF No. 93, and after presentation of evidence and argument during four days of trial on the

amount of compensatory and punitive damages owed by Giuliani to plaintiffs, an eight-member

jury returned a unanimous verdict, see Verdict Fom1, ECF No. 135. Based on the evidence

presented of Giuliani's past and continuing-including up to and during trial-defamation of

plaintiffs, and testimony by plaintiffs' damages expe11, Dr. Ashlee Humphreys, regarding the

monetary amount that would be necessary to counter and repair plaintiffs' reputation due to the

false defamat01y statements published and republished about plaintiffs by Giuliani and his co-

conspirators over the last three years, the jury returned a unanimous verdict, awarding: (1) as

compensato1y damages for defamation by Giuliani and his co-conspirators, $16, 171,000 to

Freeman and $16,998,000 to Moss; (2) as compensatory damages for emotional distress inflicted

by Giuliani and his co-conspirators, $20,000,000 to each plaintiff; and (3) as punitive damages for

Giuliani's conduct, $75,000,000, to be divided between plaintiffs, for a total award of

$148,169,000. See Verdict Fonn. The amount of compensatory damages for defamation awarded

by the jmy was nearly $10,000,000 less than the amount requested by plaintiffs for reputational

harm , see Trial Tr. , Morning Sess. at 73 :8- 10 (Dec. 14, 2023) (plaintiffs ' counsel Michael J.

Gottlieb requesting "at least $24 million in rcputational damages for each plaintiff'); Joint Pretrial



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Submission ("JPTS'') at 14, ECF No. 105 ("[P]laintiffs will seek a sum ranging from $15.5 million

to $43 million [on plaintiffs' defamation claim]."), and less than the low-end of the damages range

identified by Dr. Humphreys, see Trial Tr., Morning Sess., at 137:23-138:4 (Dec. 13, 2023) (Dr.

Humphreys testifying that a campaign "to repair this reputational harm" "would cost anywhere

from$ 17.8 million to $47.4 million"). Plaintiffs made no recommendation to the jury concerning

the monetary amount of compensatory damages for intentional infliction of emotional distress or

regarding punitive damages. See Trial Tr., Morni.ng Sess. at 77:14-16 (Dec. 14, 2023) (plaintiffs'

counsel Michael J. Gottlieb stating that "we're not providing you with a number to assign to

intentional infliction of emotional distress"). The punitive award of $75,000,000 was nearly

equivalent to the total compensato1y award of $73,169,000-i.e., well below the multiplier jurors

had been instructed was generally pennissible. See Jmy Instructions at 10, ECFNo. 137 ("Punitive

damages that are more than ten times compensat01y damages are almost never pe1missible.

Usually, a permissible punitive damages award will not be more than four times compensatory

damages.").

       The parties' Joint Stipulation Regarding Entry of Final Judgment agreed to reduce the

compensat01y damages award by more than $2,000,000, as "resolution of any setoff claim

Defendant Giuliani may have arising from Plaintiffs' May 31, 2022 settlement agreement with the

other defendants in this litigation,'' reducing the total amount to $145,969,000, plus post-judgment

interest and costs. Joint Stip. Regarding Final Judgment at 1, ECF No. 138; id., Proposed Order

at 1, ECF No. 138-1.

       On December 18, 2023, this Court entered Final Judgment, adopting the pa11ies' Joint

Stipulation, and ordering Giuliani to pay plaintiffs $145,969,000 in compensat01y and punitive

damages, as reflected in the jury damages award, and to reimburse plaintiffs $237,113 in attorney's



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fees, plus post-judgment interest, for plaintiffs' three successful discovery motions against

Giuliani, as ordered by this Corn1 in July, August, and September 2023, with which orders Giuliani

has failed to comply. Final Judgment at 1-2. 2 Indeed, Giuliani has simply ignored the orders

directing reimbursement to plaintiffs of attorney's fees for discovery misconduct, without seeking

extensions of time to make reimbursement, requesting any payment schedules or making any

excuse for his nonpayment by the deadlines set in corn1 orders. 3

         Plaintiffs' instant motion for expedited consideration of their request for an order directing

dissolution of the automatic stay of execution of judgment under Federal Rule of Civil Procedure

62(a), and authority to register immediately their judgment in any other judicial district pursuant

to 28 U.S.C. § 1963, may now be resolved, having heard Giuliani's opposition to the same.




          In accordance with the parties' Joint Stipulation, see Joint Stip. Regarding Final Judgment at 2- 3, the
following declaratory relief was also ordered with respect to plaintiffs' claims for defamation, intentional infliction of
emotional distress, and civil conspiracy, declaring that (I) " the Actionable Statements set forth in the Amended
Complaint, ECF No. 22, are false; that those statements are defamatory and defamatory per se ... and that those
statements caused plaintiffs hann"; (2) that "Giuliani engaged in extreme and outrageous conduct which intentionally
and maliciously caused the plaintiffs to suffer severe emotional distress"; (3) that "Giuliani entered into an agreement
on or before December 3, 2020 . .. to participate in defamation of and intentional infliction of emotional distress on
plaintiffs, and that plaintiffs were injured by unlawful overt acts performed by parties to the agreement," and (4) that
" defendant's conduct was intentional, malicious, wanton , and willful , such that plaintiffs are entitled to punitive
damages," Final Judgment at 2- 3.

           Specifically, Giuliani was directed to reimburse plaintiffs attorney's fees in the amount of (I) $89,172 .50,
for successfully litigating their Motion to Compel Discovery. see ECF No . 44; (2) $43,684 for successfolly litigating
their Motion to Compel Discovery from Giuliani ' s eponymous businesses, Giuliani Communications LLC and
Giuliani Partners LLC, see ECF No . 70: and (3) S104.256.50 for successfully litigat ing their Motion for Sanctions.
see ECF No . 81, plus interest. Subsequent orders were issued. after Giuliani was given ample opportunities to contest
any attorney ' s fees requested. with deadlines for reimbursement payments, all of which deadlines have been entirely
ignored by Giuliani , who has not paid a dime. See Minute Order (July 13. 2023) (directing Giuliani ''by July 25 , 2023 ,
to reimburse plaintiffs S89, 172.50 in attorneys· fees incurred in litigating the ir Motion to Compel Discovery ,'' ECF
No. -l4); Default Judgment Decision. 2023 WL 56003 16. :i t *3 (ordering Giuli:ini . by September 20. 2023 , to " ensure
the Giuliani Businesses reimburse plaintiffs . anorne ys fees associated with their succcssfol motion to compel
discoYery from the [Giuliani] Businesses. in 1he amount towling S43.684"): Minute Order (Sept. 22 . 2023) (directing
Giuli:ini , by October 6. 2023, to " re imburse pl:i inti ffa SI 04.256 .50 in attorneys· fees incurred in the filing of
plaimiffs' Molion for Sanctions," ECF No. 81 ): se'-' also J\111. JPTS at 19. ECF No. 115 (jointly stipulating that "(t]he
Court . .. h:is ordered Defendant Giuliani to reimburse Plaintiff~ for al least S237. 113 in legal fees they inct11Ted in
litigating three discovery motions, which he has not yet paid" ).




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 II.    DISCUSSION

        Plaintiffs represent that dissolution of the automatic stay of judgment is necessary for

several reasons, including that Giuliani "has demonstrated an unwillingness to comply with

judicial process, including orders to pay attorney's fees and costs," and "appears to have no assets

in the District of Columbia but substantial assets in- at least- both New York and Florida." Pis.'

Mot. at 1. Given that Giuliani his simply ignored several prior court orders to reimburse attorney's

fees, plaintiffs posit that his conduct in this litigation presents "a substantial risk" that "Giuliani

will find a way to dissipate those assets before Plaintiffs are able to recover," a concern

compounded by the fact that "Giuliani is widely reported to have other, significant debts

threatening his personal solvency." Id.

        Giuliani dismisses plaintiffs' reasons for expedition in trying to collect on their

compensatory and punitive damage award, cheekily responding that "[i]f Giuliani had intentions

of absconding with or fraudulently transferring assets, he has had ample time to do it," and that

plaintiffs "point to no evidence to demonstrate that what Giuliani could have done for years now,

he will do in the next 30 days." Def. 's Opp'n at 2. Giuliani's position thus appears to be that just

as he has shielded his true financial status from examination by refusing to comply with discovery

rnles and com1 orders, he could have already effectively used that shield to hide his assets to avoid

paying plaintiffs' judgment against him. Notably, though he regularly speaks publicly about this

case, Giuliani has never denied that he has taken steps to hide his assets from judgment creditors,

and has offered no affirmative pledge that he will take no steps to do so, including in the next 30

days. Nevertheless, Giuliani urges that "the Court should allow[] ample time- including the thirty

days under Fed. R. Civ. P. 62(a)-for [him] to file the appropriate motions in this Court and/or the

Court of Appeals to stay enforcement of the judgment while this 'unusual' case is on appeal." Id.



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at 4. Giuliani's response is not persuasive. Instead, his reasoning only bolsters the concerns

animating plaintiffs' motion.

        Federal Rule of Civil Procedure 62(a), as most recently amended in 2018, provides that

"execution on a judgment and proceedings to enforce it are stayed for 30 days after its entry, unless

the court orders othenvise." FED. R. Clv. P. 62(a) (emphasis supplied). The "[a]mended Rule

62(a) expressly recognizes the cou11's authority to dissolve the automatic stay," including if there

is a "risk that the judgment debtor's assets will be dissipated." FED. R. CIV. P. 62(a), Adv. Comm.

Note to 2018 Amend.; see also Charles Alan Wright et al., 11 FED. PRAC. & PROC. Clv. § 2902 (3d

ed. 2023) ("As explained in the Committee Note, the court might decide to dissolve the stay if

there is a risk that the judgment debtor's assets will be dissipated[.]"); 12 MOORE'S FEDERAL

PRACTICE-CIVIL§ 62.02 (2023) (same).

       Com1s have routinely exercised their discretion, codified in Rule 62(a), to dissolve the 30-

day automatic stay as a means of precluding the judgment debtor from taking advantage of the

standard "thi1ty-day window to conceal and dissipate [their] assets."              Mattel, Inc. v.

www.fishe1priceonline, No. 21-cv-9608 (LJL), 2022 WL 2801022, at *15 (S.D.N.Y. July 18,

2022); see also McGraw Hill LLC v. Doe 1, No. 20-cv-0356 (LJL), 2022 WL 2979721, at *3, *8

(S.D.N.Y. July 26, 2022) (following default judgment on plaintiffs' copyright and trademark

claims against non-appearing defendants, "grant[ing] Plaintiffs' request to dissolve the automatic

stay" and "allow for the immediate enforcement of judgment pursuant to Federal Rule of Civil

Procedure 62(a)"); Mattel. Inc. v. Arming, No. 18-cv-8824 (LAP), 2021 WL 3683871, at *9

(S.D.N.Y. Aug. 18,202 I) ("dissolv[ing] the automatic stay imposed by Rule 62 and allow[ing] for

the immediate enforcement of the judgment''); Allstar Mktg. G,p., LLC v. AFACAI, No. 20-cv-

8406 (JPC), 2021 WL 2555636, at *8 (S .D .N.Y. June 22, 2021) (explaining the Cornt's "power to



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order the execution of a judgment to occur before the close of th[ e] 30-day window" under Rule

62(a), and "dissolv[ing] the automatic 30-day stay" (citation omitted)); Spin Master Ltd. v. I 58,

463 F. Supp. 3d 348, 385 (S.D.N.Y. 2020), adhered to in part on reconsideration, No. 18-cv-1774

(LJL), 2020 WL 5350541 (S.D.N.Y. Sept. 4, 2020) ("reliev[ing] Plaintiffs of the 30-day stay"

where plaintiffs contend that such automatic stay "create[s] a 30-day window for Defaulting

Defendants ... to transfer, dispose of, or otherwise hide assets that may be necessary to suppo1t

the judgment"). 4

          Here, several considerations make clear the risk that Giuliani may attempt to "conceal and

dissipate [his] assets" during the thirty-day period provided by Rule 62(a), wwwfisherpriceonline,

2022 WL 2801022, at *15, justifying this Court's exercise of discretion to order immediate

dissolution of the automatic stay.




            Giuliani attempts to distinguish certain cases cited by plaintiffs as "inapposite" because they "involve[ed) a
pre-judgment freezing of assets under New York law" and "[t)here was no pre-judgment asset freeze in this case[.)"
Def. 's Opp'n at 2 & n.2 (citing 111wwfishe1priceonline, 2022 WL 2801022; Arming, 2021 WL 3683871; Al/star Mktg.
 Gip., LLC, 2021 WL 2555636; Malle/, Inc. v. 1622758984, No. 18-cv-8821 (AJN), 2020 WL 2832812 (S .D .N .Y.
May 31, 2020)). This is an inc01Tect reading of these cases. Each of these couns recognized, without qualification or
limitation to the prejudgment asset restraint context, their express authority under Rule 62(a) to dissipate the 30-day
stay and allow immediate enforcement of judgment to avert the same concerns raised here regarding the risk of
concealment or dissipation of assets. See www.jisher-price.011li11e, 2022 WL 280 I 022, at * 15 ("Plaintiff requests a
continuance of the pre-judgment asset restraint because the automatic stay and absence of interim asset restraint
provide Defendant a thirty-day window to conceal and dissipate its assets .... The Court may address these concerns
by ordering immediate enforcement of the judgment pursuant to Federal Rule of Civil Procedure 62(a)." (citations
omitted)); Arming, 2021 WL 3683871, at *9 (same); Al/star Mktg G,p., LLC. 2021 WL 2555636, at *8 (addressing
plaintitrs concern that the Rule 62 automatic stay will "giv[ e] the Defaulting Defendants time to conceal their assets,"
and "dissolv[ing) the automatic 30-day stay imposed by Rule 62 to allow for immediate enforcement of the
judgment.'); l 622158984, 2020 WL 2832812, at *7 ("Plaintiff asserts that, in light of this automatic stay and in the
absence of an interim asset freeze, defaulting Defendants would ha ve a 30-day window to conceal or dissipate their
assets. Plaintiffs concerns may be addressed by allowing for immediate enforcement of the judgment in this case.
which Ruic 62 explicitly grants this Court authority to order." (citing F ED. R. C1v . P. 62(a). Adv. Comm . Note to 2018
Amend.)). As other authorities make plain, Rule 62(a)'s express grant of discretion to dissol ve the 30-day automatic
stay is not I imited to the prejudgment asset restraint context. See, e.g., AlcGrrm I lill lJC. 2022 WL 2979721, at *4-
8 ("allow[ing] for the immediate enforcement of judgment pursuant to Federal Ruic of Ci,·il Procedure 62(a)"
following award of statutory damages on plaintiffs ' claims for copyright infringement and trademark counterfeiting);
Se<! al.rn Charles Alan Wright et al. , 11 FED. PRAC. & PROC. C1v . § 2902 (3d ed. 2023) ("As explained in the Committee
Note, the court might decide to dissolve the stay if there is a risk that the judgment debtor·s assets will be dissipated.");
 I:! MOORE ' S FEDERAi. PRACTICE - CIVIL ~ 62.02 (2023) (same).

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        First, as plaintiffs correctly explain, Giuliani has "proven himself to be an unwilling and

uncooperative litigant," Pis.' Mot. at 3, whose repeated failures to comply with "basic preservation

and production duties . . . necessitat[ ed] the entry of default judgment against [him] on liability as

a discove1y sanction," Mem . Op. & Order Denying Def. 's Obj. Jmy Trial, Freeman v. Giuliani,

No. 21-3354 (BAH), 2023 WL 8360664, at *2 (D.D.C. Dec. 3, 2023) (citing Default Judgment

Decision, 2023 WL 5600316, at *3- 12, 26). Giuliani cannot and does not dispute that he has

continued to disregard the Court's orders directing payment of plaintiffs' attorney's fees and costs

in connection with plaintiffs' successful discove1y motions. See Am. JPTS at 19, ECF No. 115

(jointly stipulating that "[t]he Court .. . has ordered Defendant Giuliani to reimburse Plaintiffs for

at least $237,113 in legal fees they incuned in litigating three discove1y motions, which he has not

yet paid"); see also Default Judgment Order at 3 (directing enhy of default judgment and ordering

sanctions for "defendant's failure timely to reimburse plaintiffs' $89,172.50 in attorneys' fees" for

plaintiffs' Motion to Compel Discove1y, ECF No. 44); id. (directing Giuliani to "ensure that the

Giuliani Businesses reimburse plaintiffs' attorneys fees associated with their successful motion to

compel discovery from those Businesses . . . in the amount totaling $43,684"); Minute Order

(Sept. 22, 2023) (directing Giuliani "to reimburse plaintiffs $104,256.50 in attorneys' fees incmTed

in the filing of plaintiffs'[] Motion for Sanctions,'' ECF No. 81"). Giuliani's failure to "satisfy

even more modest monetaiy awards entered earlier in this case," Pis.' Mot. at 4 n.2, provides good

cause to believe that he will seek to dissipate or conceal his assets during the 30-day period

contemplated by Rule 62(a).

       Second, as plaintiffs submit and as Giuliani does not contest, "Giuliani has numerous and

mounting debts, including to his own attorneys and other litigants seeking to reduce their claims

to judgment." Pis.' Mot. at 3. Plaintiffs attach two such complaints against Giuliani to their



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motion, including a creditor action brought by Giuliani's counsel in criminal matters, Robert

Costello, seeking "payment of an outstanding bill for legal services .. . in the amount of

$1,360,196.1 0." Pis.' Mot., Deel. of Michael J. Gottlieb ("Gottlieb Deel."), Ex. 1, Complaint ,i 1,

Davidoff Hutcher & Citron LLP et al. v. Giuliani, No. 654558/2023, ECF No. I (N.Y. Sup. Ct.

Sept. 18, 2023); see also Pis.' Mot., Gottlieb Deel., Ex. 2, Complaint, Eiden v. Giuliani et al., No.

23-cv-8032, ECF No. I (C.D. Cal. Sept. 26, 2023) (complaint brought by Robert Hunter Biden

against Giuliani, Giuliani businesses, and others, seeking damages, injunctive relief, and equitable

relief). These potentially competing claims to Giuliani 's assets raise the risk that Giuliani has even

greater motivation to hide his financial assets from potential foture judgments against him.

        Giuliani feebly counters concerns about him hiding assets, stating that "there is no evidence

in the record of any attempt by [him] to dissipate assets." Def. 's Opp'n at 2. This statement simply

ignores the ample record in this case of Giuliani 's effo11s to conceal or hide his assets by failing to

comply with discovery requests, including "plaintiffs' requests for financial information." Default

Judgment Decision , 2023 WL 5600316, at *22. This precise discovery misconduct triggered the

Court's imposition of sanctions in the form of not only default judgment on liability, but also more

stringent adverse inference instructions to the jmy than would have been given had Giuliani

complied with discove1y requests for financial records. See id. at *23 (ordering, "as a sanction for

failing to comply with ... the [Court's] Orders, the jmy will be instructed that they must, when

determining an appropriate sum of punitive damages, infer that Giuliani is intentionally trying to

hide relevant discove1y about his financial assets for the purpose of artificially deflating his net

worth'' (emphasis in original) (citation omitted)); Additional Sanctions Order. Freeman v.

Giuliani. No . 2 l-cv-3354 (BAH), 2023 WL 8360653, at *2 (D.D.C. Oct. 13 , 2023) (ordering four

additional ad verse inferences on which the "j ury [would] be instmcted ... when determining an



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 appropriate sum of compensatory, presumed, and punitive damages" as a sanction for Giulian i's

failure to comply with plaintiffs' document requests for Giuliani's financial-related infonnation

and records, as required in the Default Judgment Decision and Order). 5

          Nowhere in opposition does Giuliani promise not to hide assets from plaintiffs. Nor does

he contend, let alone demonstrate with documentary or other proof, that he would be unable to

satisfy the judgment, in whole or in pait. See generally Def.'s Opp'n. To be sure, Giuliani's

counsel argued to the jury at the damages trial that plaintiffs' requested damages award would

amount to "the civil equivalent of the death penalty, because if [jurors] award the amount of

damages they're asking for, it will be the end of Mr. Giuliani," Trial Tr., Afternoon Sess., at 59:5-

9 (Dec. 11, 2023), and Giuliani has made similar representations during this litigation that

"financial difficulties" hampered his ability to immediately pay plaintiffs' attorney's fees ordered

by this Comt, Default Judgment Decision, 2023 WL 5600316, at *23 (citation omitted). Yet,

Giuliani's persistent refusal to respond to plaintiffs' discovery requests precluded plaintiffs from

testing the veracity of Giuliani 's claimed "financial difficulties," and this Comt's ability to

evaluate his resources to satisfy judgment such that then, as now, "Giuliani has failed to show that

he cannot pay the [amount] he owes." Id. Such claims of Giuliani 's "financial difficultics"- no

matter how many times repeated or publicly disseminated and duly reported in the media- are

difficult to square with the fact that Giuliani affords a spokesperson, who accompanied him daily

to trial, see Trial Tr., Morning Sess., at 19: 16- 19 (Dec. 13, 2023) (plaintiffs' counsel Michael J.

Gottlieb referencing "Giuliani and his spokesperson, who [he] believe[s] is sitting in the court




           Giuliani suggests that plaintiffs' request for dissolution of the 30-day stay of enforcement should be granted
"'only on condition that security be posted by the judgment creditor. " Def. ·s Opp'n at 3 (quoting FED. R. Crv. P. 61(a),
At.I v . Comm. Note to 2018 Amend.), but that "[p]laintiffs make no such offer of bond or security in their Motion." id.
The bond condition suggested in the advisory notes is plainly discretionary, and Giuliani cites no authority- indeed
this Court is aware of none- expressly conditioning dissolution of the 30-day stay on the creditor's posting of security.
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today, Mr. [Ted] Goodman"); see also Alison Dt)rkee, Giuliani Must Pay $148 Million In

Damages      For    Def'aming    Georgia     Election    Workers,    Forbes     (Dec.   15,   2023),

https://www.forbes.com/sites/alisondurkee/2023/12/15/giuliani-must-pay-148-million-in-

damages-for-defaming-georgi a-el ecti on-workers/?sh=4 l b2 00c4606f          (noting    "Giuliani's

spokesperson Ted Goodman ha[d] not yet responded to a request for comment" following

conclusion of trial on December 15, 2023), and plaintiffs' counsel's submission, based on

"report[s] in the press and confinned by [p]laintiffs' initial investigation," Pis.' Mot. at 5, and

uncontested by Giuliani, see general~y Def. 's Opp'n, that "Giuliani ... does have significant assets

in other jurisdictions, including residential propenies located in the Southern District of New York

and the Southern District of Florida," and "numerous accounts at financial institutions located in

New York," Pis.' Mot., Gottlieb Deel.~~ 3-4; see also Pis.' Mot. at 5.

       Finally, Giuliani contends that "if the Com1 allows immediate execution of the final

judgment, then Giuliani will have no chance to have the damages award reduced on remittitur or

even seek a stay from the D.C. Circuit," which "will be presented with [issues]-some of them

novel-that create a stronger likelihood that the final judgment may be, at minimum, altered in

some way on appeal." Def. 's Opp'n at 3-4. While not pre-judging any remittitur arguments that

may be made by Giuliani, the obvious fact that the jury's unanimous awards were conservative as

to the plaintiffs' requested compensation for reputational harm due to Giuliani 's defamation per

se, based on the expen's calculation of the cost of repairing their reputations, and the jury's

punitive damages award was nearly equivalent to compensato1y damages, rather than multiplied

by up to four times compensatory damages. reduction of the award on remittitur faces some

challenges. Moreover. should this case be appealed, Giuliani can avoid any claimed prejudice and

obtain a stay of enforcement "at any time by posting a full supersedeas bond pursuant to Federal



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Rule of Procedure 62(b)." Pis.' Mot. at 4 n.2; see FED. R. Clv. P. 62(b) ("At any time after

judgment is entered, a pai1y may obtain a stay by providing a bond or other security."). Given that

"the stay operates for the appellant's benefit and deprives the appellee of the immediate benefits

of his judgment, a full supersedeas bond should be the requirement in normal circumstances[.]"

Fed. Prescription Serv., Inc. v. Am. Phann. Ass 'n, 636 F.2d 755, 760 (D.C. Cir. 1980). "Although

the com1 has discretion to depart from the usual requirement of a supersedeas bond for the full

amount of judgment, the burden is 'on the moving party to objectively demonstrate the reasons for

such a departure."' Howard Town Ctr. Dev., LLC v. Howard Univ., 288 F. Supp. 3d 11, 13 (D.D.C.

2017) (citation omitted). Thus, to obtain a stay of enforcement of the judgment pending any appeal

beyond the 30-days of the automatic stay, Giuliani would have to comply with the usual

requirement of a full supersedeas bond or demonstrate why that requirement should not apply- a

showing difficult to make when there is more than "reasonable likelihood of the judgment debtor's

inability or unwillingness to satisfy the judgment in full upon ultimate disposition of the case."

Fed. Prescription Serv., Inc., 636 F.2d at 760.

III. CONCLUSION AND ORDER

       For the reasons set forth above, it is hereby

       ORDERED that plaintiffs' Motion to Dissolve Stay of Execution and for Leave to Register

Judgment in Any Other District, ECF No. 139, is GRANTED; it is further

       ORDERED that the stay of execution of the final judgment entered on December 18, 2023 ,

and of proceedings to enforce it, provided under Federal Rule of Civil Procedure 62(a), is

DISSOLVED, effective immediately; it is further




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        ORDERED that, pursuant to 28 U.S.C. § 1963, plaintiffs are authorized to register

immediately the final judgment entered on December 18, 2023, in any other district of the United

States; and it is further

        ORDERED that the Clerk of Cou1i is directed to issue plaintiffs a completed and signed

F01m AO451, together with a copy of the final judgment entered on December 18, 2023, and a

copy of this Memorandum and Order.

SO ORDERED.
Date: December 20, 2023


                                                    BERYL A. HOWELL
                                                    United States District Judge



                                                                  ECF
                                                               DOCUMENT
                                              I hereby attest and certify that this ts a printed copy of a
                                              document which was electronically flied with the United
                                              States District and Bankruptcy Courts for the District of
                                              Columbia.      J"
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